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Appendix “A”
Disapproved Form 1 — Application to Make and Register a Firearm

(8 pages)
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OMB No. 1140-0011 (06/30/2019)
U.S. Department of Justice

Bureau of Alcohol, Tob: , Fi d Explosi . * . .
oO. Application to Make and Register a Firearm

Se oe FE A A EA OE EU en we Nee Ry ORL A SES Fyre Sam OE ED Sa Bet SY ON ARE PRO]
ATF Control Number 2023133773

To: National Firearms Act Division, Bureau of Alcohol, Tobacco, Firearms and Explosives, P.O. Box 530298, Atlanta, GA

30353-0298 (Submit in duplicate. See instructions attached.)

As required by Sections 5821 (b), 5822, and 58411 of the National Firearms Act, Title 26 U.S.C., Chapter 53, the undersigned |1. Type of Application (check one)
hereby submuts application to make and register the firearm described below.

 

 

 

 

 

 

2. Application is made by: 3a. Trade name ([fany) (m2 Tax Paid. Submit your tax payment of $200
with the application. The tax may be paid by
[_] INDIvibUAL I RUST LEGAL [[] GOVERNMENT credit or debit card, check, or money order.
| Please complete item 17. Upon approval of
3b. Applicant’s name and mailing address (Type or print below and between the dots) (see instruction 2d) the application, we will affix and cancel the
| required National Firearms Act Stamp.
(See instruction 2c and 3)
DEWILDE ARMS TRUST
301 STAGECOACH TRL | [ ]p. Tax Exempt because firearm is being made on

CODY, WY 82414, UNITED STATES behalf of the United States, or any department

| independent establishment, or agency thereof.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3c. If PO. Box 1s shown above, street address must be given here L] “ wauen res eaa beng = sis
| United States, or any political subdivision
3d. County 3e. Telephone (area code and number) |3f. e-mail address (optional) thereof, or any official police organization of
such a government entity engaged in criminal
PARK (580) 461-0202 JAKEDEWILDE@GMAIL.COM a han
4. Description of Firearm (complete items a through k) (See instruction 2j)
a. Name and Address of Onginal Manufacturer and/or b. Type of Firearm to be made [c. Caliberor |d. Model
Importer of Firearm (if any) (See definition 1c} Gauge M16
Hasdestructive device, compte (Specify Length |e. Of Barrel: f. Overall:
item 4j one)
¢ Inches) 16 38
SPIKE'S TACTICAL LLC, UNITED STATES MACHINEGUN 5.56
g. Serial Number
105674
|
h. Additional Description (Include all numbers and other identifying data to i. State Why You Intend To Make Firearm (Use additional sheet if necessary)

include maker name, city and state which will appear on the firearm) ALL LAWFUL PURPOSES
(use additional sheet if necessary) |
|
|

 

 

j. Type of destructive device (check one box); [J Firearm [| Explosives (if the Explosives box is checked, complete item 5 and see instruction 21)
If an explosive type destructive device, identify the type of explosive(s):

k. Is this firearm being reactivated? [| Yes [Hl No (See definition Ik)
5. Applicant’s Federal Firearms License (If ary) or Explosives License or Permit Number 6. Special (Occupational) Tax Status (if applicable) (See definitions)
I

 

 

 

(Give complete 15-digit Number) ‘a. Employer Identrficatton Number b. Class

Under Penalties of Perjury, I Declare that I have examined this application, including accompanying documents, and to the best of my knowledge and belief it is
true, accurate and complete and the making and possession of the firearm described above would not constitute a violation of Title 18, U.S.C., Chapter 44,

Title 26, U.S.C., Chapter 53; or any provisions of State or local law.

7. Signature of Applicant | 8. Name and Title of Authorized Official 9. Date

DIGITALLY SIGNED JAKE DEWILDE, TRUSTEE 12/08/2022

The space below is for the use of the Bureau of Alcohol, Tobacco, Firearms and Explosives

By authority of the Director, Bureau of Alco }ol, Tobacco, Firearms and Explosives, this application has been examined and the applicant’s making and registration of
the firearm described above is:

[| Approved (With the following conditions, if any) {| Disapproved (For the following reasons)

 

 

 

 

 

| SEE THE ATTACHED PAGE FOR THE REASON FOR THE DISAPPROVAL

 

 

Authorized ATF Official - 5 Date
2 12/20/2022

 

Previous Editions Are Obsbléeté 4 Ca
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MAKER’S CERTIFICATION (not completed by a GOVERNMENT ENTITY)

10. Law Enforcement Notification (See instruction 2g)
Each applicant is to provide notification of the proposed making and possession of the firearm described on this Form 1 by providing a copy of the completed form to the
chief law enforcement officer in the agency identified below:

 

Agency or Department Name Name and Title of Official

PARK COUNTY SHERIFF SCOTT STEWARD, SHERIFF

 

Address (Street address or P.O. Box, City, State and Zip Code) to which sent (mailed or delivered)

1402 RIVER VIEW DRIVE, CODY, WY, 82414, UNITED STATES

 

Information for the Chief Law Enforcement Officer
This form provides notification of the applicant’s intent to make and register a National Firearms Act (NFA) firearm. No action on your part is required. However,
should you have information that may disqualify this person from making or possessing a firearm, please contact the NFA Division at (304) 616-4500 or NFA @atf.gov.
A “Yes” answer to items 11.a. through 11.h or 13.a or 13.b. could disqualify a person from acquiring or possessing a firearm. Also, ATF will not approve an application
if the making or possession of the firearm is i violation of State or local law.

|
Maker’s Questions (complete only when the maker is an individual)
A maker who is an individual must complete this Section.
11. Answer questions 11.a. through 11.j. Answer questions 13 through 14 if applicable. For any “Yes” answer the applicant shall provide details on a separate sheet.
(See instruction 7c and definitions) |

| Yes | No /12. Photograph

a. Are you under indictment or information in any court for a felony, or any other crime, for which the judge
could imprison you for more than one year? (See definition In)

b. Have you ever been convicted in any court for a felony, or any other cnme, for which the judge could have
imprisoned you for more than one year, even if you received a shorter sentence including probation? (See definition In)

c. Are you a fugitive from justice? (See definition It)

d. Are you an unlawful user of, or addicted to, manjuana or any depressant, stimulant, narcotic drug, or any
other controlled substance? Warning: The use or possession of marijuana remains unlawful under
Federal law regardless of whether it has been legalized or decriminalized for medicinal
or recreational purposes in the state where you reside.

e. Have you ever been adjudicated as a mental defective OR have you ever been committed to a mental
institution? (See definition lo and Ip)

f Have you been discharged from the Armed Forces under dishonorable conditions?

g. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an
intimate partner or child of such partner? (See definition 1q)

h. Have you ever been convicted in any court of a misdemeanor crime of domestic violence? (See definition Ir)
13a. Country of Citizenship: (Check/List more than one, if applicable. Nationals of the United States may check U.S.A.) (See definition Is)

 

 

 

 

Affix
Recent Photograph Here
(Approximately 2" x 2")
(See instruction 2e)

 

 

 

 

 

 

 

 

 

 

 

[[] United States of America [_] Other Country/Countries (specify):

 

Yes | No

 

b. Have you ever renounced your United States citizenship?
ec. Are you an alien illegally or unlawfully in the United States?

 

 

d.1. Are you an alien who has been admitted to the United States under a nonimmiprant visa?

 

 

 

d.2. If “yes”, do you fall within any of the exceptions stated in the instructions? Attach the documentation to the application [_] NA

 

14. If you are an alien, record your US.-Issued Alien or Admission number (AR#, USCIS#, or 194#):

 

 

CERTIFICATION: Under penalties imposed by 18 U.S.C. § 924 and 26 U.S.C. § 5861, I certify that, upon submission of this form to ATF, a completed copy of this
form will be directed to the chief law enforcement officer (CLEO) shown in item 10, that the statements, as applicable, contained in this certification, and any
attached documents in support thereof, are true and correct to the best of my knowledge and belief. NOTE: See instructions 2.d(2) and 2.d(3) for the items to be

 

 

co depending on the type of a licant.
DIGITALLY SIGNED 6 PP
JAKE DEWILDE, TRUSTEE
12/08/2022
Signature of Maker | Date

 

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15. Number of Responsible Persons (see definitions) associated with the applicant trust or legal entity ;

16. Provide the full name (printed or typed) below for each Responsible Person associated with the applicant trust or legal entity (if there are more Responsible Persons than
can be listed on the form, attach a separate sheet listing the additional Responsible Person(s)). Please note that a completed Form 5320.23, National Firearms Act
(NFA) Responsible Person Questionnaire, must be submitted with the Form 1 application for each Responsible Person.

Full Name Full Name

JAKE DEWILDE

 

 

 

 

 

 

 

17. Method of Payment (Check one) (See instruction 2h) (if paying by credit/debit card, complete the sections below)

 

 

 

 

 

 

 

 

 

 

[_] Check (Enclosed) [_] Cashier’s Check or [_] Visa [_] Mastercard [_] American [_] Discover [_] Diners Club
Money Order (Enclosed) Express
Credit/Debit Card Number (No dashes) | Name as Printed on the Credit/Debit Card Expiration Date (Month & year)
Address: |

Credit/Debit Card
Billing Address: City: | State: Zip Code:

| Tax Amount:

$
I Authorize ATF to Charge my Coecetinetit Card the Above Amount.

|

Signature of Cardholder Date

|
Your credit/debit card will be charged the above stated amount upon receipt of your application. The charge will be reflected on your credit/debit card statement.
In the event your application is NOT approved, the above amount will be credited to the credit/debit card noted above.

 

|
| Important Information for Currently Registered Firearms

|
If you are the current registrant of the firearm described on this form, please note the following information.
Estate Procedures: For procedures repardinp the transfer of firearms in an estate resulting from the death of the registrant identified in item 3b, the executor should contact
the NFA Division, Bureau of ATF, 244 Needy Road, Martinsburg, WV 25405.
Interstate Movement: If the firearm identified 1 in item 4 is a machinegun, short-barreled rifle, short-barreled shotgun, or destructive device, the registrant may be
required by 18 U.S.C. § 922(a)(4) to obtain permission from ATF prior to any transportation in interstate or foreign commerce. ATF Form 5320.20 can be used to request this
permission.

 

Change of Description or Address: The registrant shall notify the NFA Division, Bureau of Alcohol, Tobacco, Firearms and Explosives, 244 Needy Road, Martinsburg,
WV 25405, in writing, of any change to the oe of the firearm in item 4, or any change to the address of the registrant.

Restrictions on Possession: Any restriction (see approval black on face of form) on the possession of the firearm identified in item 4 continues with the further transfer of
the firearm.

|
Persons Prohibited from Possessing Firearms: If the registrant becomes prohibited from possessing a firearm, please contact the NFA Division for procedures on how to
dispose of the firearm.

Proof of Registration: A person possessing a firearm registered as required by the NFA shall retain proof of registration which shall be made available to any ATF officer
upon request.

Paperwork Reduction Act Notice

This form is in accordance with the Paperwork Reduction Act of 1995. The information you provide ts used to establish that the applicant’s making and possession of the
firearm would be in conformance with Federal, State, and local law. The data is used as proof of lawful registration of a firearm to the manufacturer. The furnishing of this
information is mandatory (26 U.S.C. § 5822).

The estimated average burden associated sd this collection of information ts 4.0 hours per respondent or recordkeeper, depending on individual circumstances.

Comments concerning the accuracy of this burden estimate and suggestion for reducing this burden should be addressed to Reports Management Officer, Information
Technology Coordination Staff, Bureau of Alcohol, Tobacco, Firearms and Explosives, Washington, DC 20226.

An agency may not conduct or sponsor, and a person is not required to respond to, a collection of information unless it displays a currently valid OMB control number.

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PrivacyAct Information

. Authority. Solicitation of this information is made pursuant to the National Firearms Act (26 U.S.C. § § 5821 and 5822). Disclosure of this information by the applicant
is mandatory for any person (other than a manufacturer qualified under the National Firearms Act) making a firearm as defined in the National Firearms Act.

Purpose. To verify payment of the tax imposed by 26 U.S.C. § 5821; to determine that the making would not be in violation of law; and to effect registration of the
firearm.

Routine Uses. The information will be used by ATF to make the determinations set forth in paragraph 2. In addition, to effect registration of the firearm, information
as to the identification of the firearm, date of registration, and the identification and address of person entitled to possess the firearm will be entered into the National
Firearms Registration and Transfer Record. No information obtained from an application, registration, or records required to be submitted by an individual in order to
comply with any provision of the National Firearms Act or regulation issued thereunder, shall, except in connection with prosecution or other action for furnishing false
information, be used, directly or indirectly, as evidence against that person in any criminal proceeding with respect to a violation of law occurring prior to or
concurrently with the filing of the application. The information from this application may only be disclosed to Federal authorities for purposes of prosecution for viola
tion of the National Firearms Act.

. Effects of not Supplying Information Requested. Failure to supply complete information will delay processing and may cause denial of theapplication.

Definitions/Instructions

Definitions. |

a

National Firearms Act (NFA). Title 26, United States Code, Chapter 53.
The implementing regulations are found in Title 27, Code of Federal

Regulations, Part 479. |

Gun Control Act (GCA). Title 18, United States Code, Chapter 44.
The implementing regulations are found in Title 27, Code of Federal
Regulations, Part 478. |

Firearm. The term “firearm” means: (1) a shotgun having a barrel or
barrels of less than 18 inches in length; (2) a weapon made from a
shotgun if such weapon as modified has an overall length of less than 26
inches or a barrel or barrels of less than 18 inches in length; (3) a rifle
having a barrel or barrels of less than 16 inches in length; (4) a weapon
made from a rifle if such weapon as modified has an overall length of less
than 26 inches or a barrel or barrels of less than 16 inches in length; (5)
any other weapon, as defined in 26 US.C. § 5845(c); (6) amachinegun;
(7) a muffler or a silencer for any firearm whether or not such firearm is
included within this definition; and « a destructive device, as defined in
26 U.S.C. § 5845 (f).

Person. A partnership, company, association, trust, corporation, including cach
responsible person associated with such an entity; an estate; or an individual.

|
Responsible Person. In the case of an unlicensed entity, including any
trust, partnership, association, company (including any Limited Liability
Company (LLC)), or corporation, any individual who possesses, directly or
indirectly, the power or authority to direct the management and policies of
the trust or entity to receive, possess, ship, transport, deliver, transfer or
otherwise dispose of a firearm for, or on behalf of, the trust or legal entity.
In the case of a trust, those persons with the power or authority to direct
the management and policies of the trust includes any person who has the
capability to exercise such power and possesses, directly or indirectly,
the power or authority under any trust instrument, or under State law, to
receive, possess, ship, transport, deliver, transfer, or otherwise disposcof
a firearm for, or on behalf of the trust} Examples of who may be
considered a responsible person include scttlors/grantors, trustees, pariners,
members, officers, directors, board members, or owners. An example of
who may be excluded from this definition of responsible person is the
beneficiary of a trust, if the beneficiary does not have the capability to
exercise the enumerated powers or authorities,
Employer Identification Number (EIN). Required of taxpayer filing
special (occupational) tax returns under 27 CFR § 479.35.

 

Special (Occupational) Tax. Required by the NFA to be paid by a
Federal firearms licensee engaged in the business of manufacturing
(Class 2), importing (Class 1), or dealing (Class 3) in NFA firearms.

Federal Firearms License. A license issued under the provisions ofthe
GCA to manufacture, import or deal f firearms.

ATF Officer. An officer or employee of the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) authorized to perform any
function relating to the administration of the NFA.

j. Make. The term “make”, and the various derivatives of such word, shall
include manufacturing (other than by one qualified to engage in such
business under the NFA), pulling together, altering, any combination of
these, or otherwise producing a firearm.

k Reactivation. The restoration of a registered unserviceable NFA firearm to
a functional condition. This action incurs the making tax liability.

L Unserviceable Firearm. One which is incapable of discharging a shot
by means of an explosive and incapable of being readily restored to firing
condition. An acceptable method of rendering most firearms unserviceable
is to fusion weld the chamber closed and fusion weld the barrel solidly to
the frame.

m. Maker. A person applying to make an NFA firearm.

n. Prohibited Person. Generally, 18 U.S.C. § 922 (g) prohibits the shipment,
transportation, receipt, or possession in or affecting interstate commerce
of a firearm by one who: has been convicted of a misdemeanor or crime of
domestic violence; has been convicted of a felony, or any other crime, pun
ishable by imprisonment for a term exceeding one year (this does not
include State misdemeanors punishable by imprisonment of two years or
less); is a fugitive from justice, is an unlawful user of, or addicted to,
marijuana or any depressant, stimulant, or narcotic drug, or any other
controlled substance; has been adjudicated as a mental defective or has
been committed to a mental institution; has been discharged from the
Armed Forces under dishonorable conditions, has renounced his or her
U.S. citizenship; is an alien illegally in the United States or an alien
admitted to the United States under a nonimmigrant visa; or is subject to
certain restraining orders. Furthermore, Section 922 (n) prohibits the ship
ment, transportation, or receipt in or affecting interstate commerce of a
firearm by one who is under indictment or information for a felony in any
Federal, State or local court, or any other crime, punishable by imprison
ment for a term exceeding one year. An information is a formal accusation
of a crime verified by a prosecutor.

EXCEPTION: A person who has been convicted of a felony, or any other
crime, for which the judge could have imprisoned the person for more

than one year, or who has been convicted of a misdemeanor crime of
domestic violence, is not prohibited from purchasing, receiving, or possess
ing a firearm if: (1) under the law of the jurisdiction where the conviction
occurred, the person has been pardoned, the conviction has been expunged

or set aside, or the person has had their civil rights (the right to vote, sit on a
jury, and hold public office) taken away and later restored AND (2) the person
is not prohibited by the law of the jurisdiction where the conviction occurred
from receiving or possessing firearms. Persons subject to this exception should
mark “no” in the applicable box.

o. Adjudicated As a Mental Defective. A determination by a court, board,
commission, or other lawful authority that a person, as a result of marked
subnormal intelligence, or mental iliness, incompetency, condition, ordisease:
(1) is a danger to himself or to others; or (2) lacks the mental capacity to contract
or manage his own affairs. This term shall include; (1) a finding of insanity by a
court in a criminal case; and (2) those persons found incompetent to stand trial or
found not guilty by reason of lack of mental responsibility.

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Instruction (Continued)

p. Committed to a Mental Institution. A formal commitment of a
person to a mental institution by a court, board, commission, or other
lawful authority. The term includes a commitment to a mental
institution involuntarily. The term includes commitments for other
reasons, such as for drug use. The term does not include a person in a
mental institution for observation or a voluntary admission to a mental
institution

EXCEPTION NICS Improvement Amendments Act of 2007: A person who
has been adjudicated as a mental defective or committed to a mental institu
tion in a state proceeding is not prohibited by the adjudication or commitment
if the person has been granted relief by the adjudicating/committing state
pursuant to a qualifying mental health relief from disabilities program. Also,

a person who has been adjudicated as a mental defective or committed to a
mental institution by a department or agency of the Federal Government

is not prohibited by the adjudication or commitment if cither: (a) the person’s
adjudication or commitment was set-aside or expunged by the adjudicating/
committing agency; (b) the person has been fully released or discharged

from all mandatory treatment, supervision, or monitoring by the agency; (c) the
person was found by the agency to no longer suffer from the mental health
condition that served as the basis of the initial adjudication/commitment; or (d)
the adjudication or commitment, respectively i is based solely on a medical
finding of disability, without an opport lity for a hearing by a court, board,
commission, or other lawful authority, and the person has not been adjudicated
as a mental defective consistent with section 922(g)(4) of title 18, United States
Code; or (c) the person was granted relief from the adjudicating/committing
agency pursuant to a qualified mental health relief from disabilities program.
Persons who fall within one of the above exceptions should mark “no” in the
applicable box. This exception to an adjudication or commitment by a Federal
department or agency does not apply to any person who was adjudicated to be
not guilty by reason of insanity, or based on a lack of mental responsibility,

or found incompetent to stand trial, in any criminal case or under the Uniform
Code of Military Justice.

q. Restraining Order. Under 18 U.S.C. (§ 922, firearms may not be sold to or
received by persons subject to a court order that; (A) was issued after
a hearing which the person received actual notice of and had an opportunity
to participate in; (B) restrains such person from harassing, stalking, or
threatening an intimate partner or child of such intimate partner or person, or
engaging in other conduct that would place an intimate partner in reasonable
fear of bodily injury to the partner or child; and (C)(i) includes a finding that
such person represents a credible threat to the physical safety of such
intimate partner or child; or (ii) by its|terms explicitly prohibits the usc,
attempted use, or threatened use of physical force against such intimate
partner or child that would reasonably be expected to cause bodily injury.
An “intimate partner’ of a person is; the spouse or former spouse of the
person, the parent of a child of the person, or an individual who cohabitates
or has cohabitated with the person.

r. Misdemeanor Crime of Domestic Violence. A Federal, State, local, tribal
offense that is a misdemeanor under Federal, State, or tribal law and
has, as an element, the use or attempted use of physical force, or the
threatened use of a deadly weapon, committed by a current or former
spouse, parent, or guardian of the victim, by a person with whom the victim
shares a child in common, by a person cohabitating with, or has cohabited
with the victim as a spouse, parent, ot guardian, or by a person similarly
situated to a spouse, parent, or guardian of the victim. The term includes all
misdemeanors that have as an element the use or attempted use of physical
force or the threatened use of a deadly weapon (c.g., assault and battery), if
the offense is committed by one of the defined parties. (See Exception in the
definition of “Prohibited Person"). A person who has been convicted of a
misdemeanor crime of domestic violence also is not prohibited unless; (1)
the person was represented by a lawyer or gave up the right to a lawyer; or
(2) if the person was entitled to a jury, was tried by a jury, or gave up the
right to a jury trial. Persons subject to this exception should mark “no” in
the applicable box.

s. Alien Admitted to the United States Under a Nonimmigrant Visa. An
alien admitted to the United States under a nonimmigrant visa includes,
among others, persons visiting the United States temporarily for business or
pleasure, persons studying in the United States who maintain a residence
abroad, and certain temporary forcign workers. These aliens must answer
“yes” to question 13.d.1 and provide the additional documentation required
under question 13.d.2. Permanent resident aliens and aliens legally admitted
to the United States pursuant to either the Visa Waiver Program or to
regulations otherwise exempting them from visa requirements may answer

no” (o this question and are not required to submit the additional

documentation under 13.d.2. An alien admitted to the United States under a
nonimmigrant visa is not prohibited from purchasing, receiving, or possessing a
firearm if the alien; (1) is in possession of a hunting license or permit lawfully
issued by the Federal Government, a State, or local government, or an Indian
tribe federally recognized by the Bureau of Indian Affairs, which is valid and
unexpired; (2) was admitted to the United States for lawful hunting or sporting
purposes; (3) is an official representative of a foreign government who is
accredited to the United States Government or the Government’s mission to an
international organization having its headquarters in the United States; (4) is an
official representative of a foreign government who is en route to or from
another country to which that alien is accredited; (5) is an official of a foreign
government or a distinguished foreign visitor who has been so designated by
the Department of State; (6) is a foreign law enforcement officer of a friendly
forcign government entering the United States on official law enforcement
business; (7) has received a waiver from the prohibition from the Attomey
General of the United States.

L Fugitives from Justice. Any person who has fled from any State to avoid
prosecution for a felony or a misdemeanor, or any person who leaves the
State to avoid giving testimony in any criminal proceeding. The term also
includes any person who knows that misdemeanor or felony charges are
pending against such person and who leaves the State of prosecution.

Preparation of Application and Payment of Tax.

a Authority. As provided by 26 U.S.C. § 5822, any person (other than a
qualified manufacturer of firearms (see paragraph b)) seeking to make a
firearm must submit, in duplicate, a separate application on this form
for each firearm. The applicant maker must furnish all the information called
for, except as noted by instructions within, on this application form. Please
note that the form now contains a 3rd (CLEO) copy of the form for use in
compliance with instruction 2g and item 10 of the form.

b. Registration by Qualified Manufacturer. A person who has a Federal
firearms license to manufacture firearms (Type 07 or 10) and who has paid
special (occupational) tax to manufacture NFA firearms is exempt from the
making tax and filing of the ATF Form | application. Such qualified
manufacturer must report and register each NFA firearm manufactured by
filing ATF Form 2, Notice of Firearms Manufactured or Imported, as
required by 27 CFR § 479.103.

c. Payment of/Exemption from Payment of Tax. As provided in 26 U.S.C.
§ 5821, there is a $200.00 tax on each firearm made, except as provided in
26 U.S.C. §§ 5852 and 5853, when an NFA firearm may be made without
payment of the tax when made by, or on behalf of the United States or any
State or political subdivision thereof. Documentation that the firearm is being
made for a government entity, such as a United States government contract
or a State or local government agency purchase order, must accompany the
application. The reactivation of a registered un-serviceable firearm is subject
to the making tax.

d Completion of Form (Note: If the applicant is a Federal firearms
licensee except for a Type 03 license, items 10, 11, 12, 13, 14, 15 and 16
are not required to be completed.).

(1) The applicant shall provide the applicant’s complete name and mailing
address in item 3b. If a post office box address is used, the
physical address shall be entered in item 3c. If the applicant is a trust or legal
entity, show only the complete name of the trust or legal entity and do not
include any individual names (such as names of trustees
or corporate officials). The address shall be the location within the particular
state where the firearm will be maintained for a trust or legal entity. In the
case of two or more locations for a legal entity, the address shown shall be
the principal place of business within the particular state (or principal office,
in the case of a corporation).

(2) If the applicant is an individual, the entire Form | shall be completed
except for items 15 and 16. In addition, the applicant must include his or her
fingerprints on FBI Form FD-258 and his or her photographs (see instruction

2g).

(3) If the applicant is other than an individual, e.g., a trust or legal entity ATF
Form | (5320.1) such as a corporation, the applicant shall not complete items
1], 12, Revised May 201613, and 14. All other items must be completed
including the signing of the Certification statement.

(4) Documentation of entity existence:
(a) If the applicant is other than an individual, the applicant must attach
documentation evidencing the existence and validity of the entity, which
includes complete and unredacted copies Of partnership agreements, articles
of incorporation, corporate registration, declarations of trust with any trust
schedules, attachments, exhibits, and enclosures.
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|

(b) If the applicant entity has had an application approved as a maker or
transferee within the preceding 24 months of the date of filing this
application, and there has been no change to the documentation evidencing
the existence and validity of the entity previously provided, the entity may
provide a certification that the information has not been changed since the
prior approval and shall identify the application for which the
documentation had been submitted by form number, serial number, and date
approved.

(5) Ifthe applicant is other than an individual, cach responsible person

(see definition 1e) for the trust or legal entity must include a completed ATF
Form 5320.23, National Firearms Act (NFA) Responsible Person
Questionnaire, with the submitted Form |.

(6) Item 17 (Method of Payment) is obscured on the ATF copy 2 (Registrant)
and the CLEO copy. In addition, item 4g (serial number) is obscured on the
CLEO copy. These fields do not require completion on these copies.

¢. Photograph and Fingerprints. An individual maker (including any Federally

licensed collector who is an individual but not any other type of Federal firearms
licensee) must (1) attach to cach copy in item 12 of the ATF Form 1, a 2 inch x
2 inch photograph of his/her frontal view taken within one year prior 10 the date
of the application and (2) submit two properly completed FBI Forms FD-258
(Fingerprint Card with blue lines) with application. The fingerprints must be
clear for accurate classification and taken by someone properly equipped to take
them

Signatures. All signatures required on ATF Form | must be original in ink
on both copies.

(1) ifthe applicant is an individual, the applicant shall sign the form;

(2) if the applicant is a trust or legal entity, a responsible person of the trust
or legal entity shall sign the form}

(3) ifthe applicant is a Federal fi ircarms licensee, a responsible person of the
Federal firearms licensee shall sign the form; or

(4) ifthe applicant is a government entity, a person who has a authority to
sign for the entity shall sign the fem,

Law Enforcement Notification. The applicant must provide a copy of the
Form | to the chief law enforcement offi cer (CLEO) who has jurisdiction
over the area of the applicant's address shown in item 3b of the Form 1. In
addition, if the applicant is other than an individual, a copy of the Form
5320.23, National Firearms Act (NFA) Responsible Person Questionnaire,
for each responsible person must be provided to their respective chief law
enforcement officer. The chief law enforcement officer is considered to be
the Chief of Police; the Sheriff; the Head of the State Police; or aState

or local district attorney or prosecutor,

Remittance. If the application is subject to the $200 making tax, please complete
item 17 of the ATF Form I. Please note that you may pay the tax by credit/debit
card, check, or money order. The check or moncy order is to be made payable to
ATF. Do not send cash. |

i. Photocopies or Computer Generated Versions. After downloading or copying

and printing this form from the ATF website, ensure that the front and back are
on the same sheet of paper. The NFA Division will not approve the application
if the front and back are on separate sheets of paper.

Description of Firearm and Markings. (1) Item 4a. If you are modifying an
existing firearm, enter the name and location of the original manufacturer.
If you are creating the firearm, enter 1¢ maker's name, city andstate.

(2) Item 4b. The types of NFA firearms are listed in the definitions; (3) Item
4c. Specify one caliber or gauge. If there is another designation, indicate
the designation in item 4h. (4) Item 4d. Show the model designation (if
known). (5) Item 4e and 4f. Specify one barrel length and overall length in
items 4e and 4f as applicable. Note: if the firearm has a folding or
collapsible stock, the overall measurement is to be made with the stock
extended. (6) Item 4g. Do not alter or modify the serial number of an
existing firearm . Enter the existing serial number or, if a new firearm, onc
you create. (7) Markings: The maker i is required to mark the fircarm with
his or her name, city and state. All markings are to be in compliance with
27 CFR 478.92 and 479.102. |

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State or Local Permit. Ifa state or local permit or license is required before the
making of the firearm, a copy of the permit or license must be submitted with the

application. If the applicant is a trust or legal entity, when the State of residence
or any responsible person requires a State or local permit or license, a copy of the
permit or license must be submitted with Form 5320.23, National Firearms Act
(NFA) Responsible Person Questionnaire.

L Compliance with explosives laws (18 U.S.C. Chapter 40) and regulations
(27 CFR Part 555). If the application is for a destructive device utilizing
explosive materials, check the Explosives box in item 4.j and provide the type(s)
of explosives to be used. If the applicant is other than a government agency,
item 5 must be completed with an explosives license or permit number issued to
the applicant. If the applicant is other than an individual, such as a legal entity,
and does not have an explosives license or permit, then a responsible person
for the applicant must have a license or permit and enter the information in
item 5. To comply with the explosives laws and regulations, any member of a
legal entity must also be identified as a responsible person or employee possessor
on the explosives licenser or permit. A trust cannot be issued an explosives
license or permit.

m. Submission. The maker shall submit 2 complete forms (ATF copy and registrant
copy) with original signatures to the NFA Division at the address on the face of the
form. The applicant shall direct a 3rd complete copy of the form to the chicflocal law
enforcement officer (CLEO) as provided in instruction 2g and item 10.

3. Approval of Application. Upon approval of an application, the NFA Division
will affix the NFA tax stamp (if any) to the application, cancel it, and return the
approved copy to the maker. The approval of the application effectuates
registration of the firearm to the maker; however, the firearm must not be made
until the applicant has been approved.

4. Withdrawal of Application. The application may be withdrawn prior to
approval by submission of a written request to the Chief, NFA Division, 244
Needy Road, Martinsburg, WV 25405 from the maker. The NFA Division will
arrange for a refund of any tax paid.

5. Cancellation of Approved Application. An approved application may be can
celled only if the firearm had not been made or modified. The maker must return the
approved application with original tax stamp affixed with a written request for cancel
lation, citing the need and that the making of the firearm did not take place. The NFA
Division will arrange for a refund of any tax paid.

6 Disapproval of Application. If the application is disapproved, the NFA
Division will note the reason for disapproval on the application and return one
copy to the maker. The NFA Division will arrange for a refund of any tax paid.

7. Reason for Disapproval. 26 U.S.C. § 5822 provides that applications
shall be denied if the making or possession of the firearm would place the
maker in violation of law.

a. Violation of Law. Applications shall be denied if the making or possession
of the firearm would place the person making the firearm in violation oflaw.

b. Machineguns. 18 U.S.C. § 922 (0) provides that a machinegun may be made
only for government use or export. An application will be denied unless the
making meets these criteria.

c. Persons Prohibited from Making a Firearm. The application will be
disapproved if the maker is a person prohibited from possessing a firearm. For
information regarding persons prohibited from possessing a firearm, refer to
definitions In through It.

& Inquiries. Information relating to the NFA and other firearms laws is available
at the ATF Intemet website at www.atf.gov. Any inquiry relating to the status of an
application to transfer an NFA firearm or about procedures in general should be
directed to the NFA Division at (304) 616-4500. Please be aware that any dissemina
tion byA TF of information relating to the application to register an NFAfirearm must
conform with the restrictions in 26 U.S.C. § 6103.

9. Penalties. Any person who violates or fails to comply with any of the requirements
of the NFA shall, upon conviction, be fined not more than $10,000 or be imprisoned
for not more than 10 years, or both. Any firearm involved in a violation of the NFA
shall be subject to seizure and forfeiture. It is unlawful for any person to make or
cause the making of a false entry on any application or record required by the NFA
knowing such entry to be false.

10. Compliance with the Gun Control Act. Person must also comply with all relevant
portions of the GCA.

ATF Form 1 (5320.1)
Revised August 2017
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U.S. Department of Justice
Bureau of Alcohol, Tobacco, Firearms and Explosives
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RESTRICTIONS

 

l1 | RESTRICTED REGISTRATION-Possession limited to continued compliance with provisions of Public Law 99-308.
 

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U.S. Department of Justice

Bureau of Alcohol, Tobacco, Firearms and Explosives Contre
Number: 2023133773

ESET IT ec gE pec
Reasons For Disapproval

 

 

PROHIBITED FROM POSSESSION OF A FIREARM UNDER 18 U.S.C. 922(0). IT IS AGAINST THE LAW TO MAKE OR MANUFACTURE A
MACHINEGUN AFTER MAY 19, 1986 UNLESS THE MAKER OR MANUFACTURER HAS A TYPE 7 OR 10 FFL WITH 62/72 SOT OR FOR OR
BY A GOVERNMENT AGENCY. REFUND REQUESTED.

 

 
